
697 N.W.2d 524 (2005)
LAURA
v.
DaimlerCHRYSLER CORP.
No. 128155.
Supreme Court of Michigan.
June 16, 2005.
SC: 128155. COA: 257297.
On order of the Court, the motion for immediate consideration is GRANTED. The application for leave to appeal is considered and, pursuant to MCR 7.302(G)(1), in lieu of granting leave to appeal, we REMAND this case to the Court of Appeals for consideration as on leave granted. We further ORDER that proceedings in the Washtenaw Circuit Court are STAYED pending the completion of this appeal. On motion of a party or on its own motion, the Court of Appeals may modify, set aside, or place conditions on the stay if it appears that the appeal is not being vigorously prosecuted or if other appropriate grounds appear.
We do not retain jurisdiction.
